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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             WAYCROSSDIVISION
      UNITED STATES OF AMERICA
                                                                        CASE NO.
                         v.
                                                                        5-21-CR-0009-2
      DANIEL MENDOZA


                MOTION TO ALLOW PARTICIPATION IN VOIR DIRE
        Daniel Mendoza, the Accused in the above-styled action, by and through his attorney, asks this
Court to allow counsel to participate in voir dire so that he may discover possible bias and prejudice
held by potential jurors and gain necessary information as basis for preemptory challenges. In United
States v. Ible, 639 F.2d 389, 395 (1980), the court stated that “in the majority of situations questioning
by counsel would be more likely to fulfill this need [of effectively gathering information for
preemptory challenges] than an exclusive examination in general terms by the trial court.”




    Respectfully submitted, February 22, 2022.



                                                                /s/ Kimberly L. Copeland
                                                                Kimberly L. Copeland
                                                                GA Bar # 186783
                                                                Attorney for Daniel Mendoza



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      Case 5:21-cr-00009-LGW-BWC Document 306 Filed 02/22/22 Page 2 of 2


                                   CERTIFICATE OF SERVICE

        This is to certify that I have on this day served all the parties in this case in accordance with
the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in this Court.

    Respectfully submitted, February 22, 2022.




                                                                 /s/ Kimberly L. Copeland
                                                                 Kimberly L. Copeland
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